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DALLAS DIVISION
CLE
Be US. DISTRICT COURT

UNITED STATES OF AMERICA § J

§ IQ
V. § NO. 3:07-CR-+62-D

§
KIMBERLY LAYNE JOHNSON §

MOTION FOR DETENTION

 

The United States moves for pretrial detention of defendant, Kimberly Layne Johnson,
pursuant to 18 U.S.C. § 3142(e) and (f).
1. Eligibility of Case. This case is eligible for a detention order because the case
involves:
_X__ Crime of violence (18 U.S.C. §3156);
_ ___ Maximum sentence life imprisonment or death
____ 10+ year drug offense
_____ Felony, with two prior convictions in above categories
___ Serious risk defendant will flee
_X_ Felony involving a minor victim
__X_ Serious risk obstruction of justice
2. Reason for Detention. The Court should detain defendant because there are no
conditions of release which will reasonably assure:

X___ Defendant's appearance as required

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__X__ Safety of any other person and the community
3. Rebuttable Presumption. The United States will invoke the rebuttable presumption
against defendant because:
__X__ Probable cause to believe defendant committed an offense involving a
minor, 18 U.S.C. § 2423(b).
_ Previous conviction for "eligible" offense committed while on pretrial bond
4. Time For Detention Hearing. The United States requests the Court conduct the
detention hearing,

X___ At first appearance

After continuance of days (not more than 3).
DATED this 24th day of January, 2007.

Respectfully submitted,

RICHARD B. ROPER

 

United States Attorney
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AISHA SALEEM

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CERTIFICATE OF SERVICE
I hereby certify that a true and correct copy of the above and foregoing Motion has
been served upon defendant or his counsel of record in accordance with the provisions of
Rule 49 F.R.Cr.P.
DATED this _24tht__ day of January __, 2007.

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AISHA SALEEM
Assistant United States Attorney

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